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AO 245B (Rev. 11/16)   Judgment in a Criminal Case
                                                                                                                                FILED
                                                                                                                          U.S. DiSTRiCT COURT
                       Sheet 1                                                                                        EASTERN D!STRICT ARKANSAS


                                                                                                                            J
                                         UNITED STATES DISTRICT COUR~AMESW
                                                           Eastern District of Arkansas             By: __-t--:f-h'"-f~-~4_ _
                                                                        )
              UNITED STATES OF AMERICA                                  )
                                  v.                                    )
                  EDWARD LEE PALMER, II
                                                                        )
                                                                               Case Number: 4:15cr00101-17 JM
                                                                        )
                                                                        )      USM Number: 29080-009
                                                                        )
                                                                        )       James Wyatt
                                                                        )      Defendant's Attorney
THE DEFENDANT:
liZI pleaded guilty to count(s)        1 of the Second Superseding Indictment

D pleaded nolo contendere to count(s)
   which was accepted by the court.
D was found guilty on count(s)
   after a plea ofnot guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                   Nature of Offense                                                         Offense Ended
 21 USC § 841 (a)(1) and           Conspiracy to Possess with Intent to Distribute and                       5/5/2015

 (b)(1)(C) and (b)(1)(E)           Dispense and to Distribute and Dispense Hydrocodone

 and 846

       The defendant is sentenced as provided in pages 2 through          __
                                                                           6 _ _ of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
D The defendant has been found not guilty on count(s)
liZI Count(s)13 of the Second Superseding Ind.o is                 liZI are dismissed on the motion of the United States.
             Superseding Ind., and Indictment
         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defenClant must notify the court and United States attorney of material clianges in economtc circumstances.

                                                                          1/26/2017




                                                                          DISTRICT JUDGE JAMES M. MOODY JR.




                                                                         Date        /        I
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AO 245B (Rev. 11/16)   Judgment in a Criminal Case
                       Sheet4--Probation
                                                                                                    Judgment-Page ~of               6
DEFENDANT: EDWARD LEE PALMER, II
CASE NUMBER: 4:15cr00101-17 JM
                                                           PROBATION
 You are hereby sentenced to probation for a term of:   FIVE (5) YEARS
                                                        ~~~~~~~~~~~~~~~~-




                                                     MANDATORY CONDITIONS
 1. You must not commit another federal, state or local crime.
 2. You must not unlawfully possess a controlled substance.
 3. You must refrain from any unlawful use ofa controlled substance. You must submit to one drug test within 15 days of placement on
    probation and at least two periodic drug tests thereafter, as determined by the court.
           D The above drug testing condition is suspended, based on the court's determination that you pose a low risk of future
               substance abuse. (check ifapplicable)
4.   ~ You must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)
5.   D You must comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et seq.)
         as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location
         where you reside, work, are a student, or were convicted of a qualifying offense. (check if applicable)
6.   D You must participate in an approved program for domestic violence. (check ifapplicable)
7.   D You must make restitution in accordance with 18 U.S.C. §§ 2248, 2259, 2264, 2327, 3663, 3663A, and 3664. (check ifapplicable)
8. You must pay the assessment imposed in accordance with 18 U.S.C. § 3013.
9. If this judgment imposes a fine, you must pay in accordance with the Schedule of Payments sheet of this judgment.
10. You must notify the court of any material change in your economic circumstances that might affect your ability to pay restitution,
    fines, or special assessments.


You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the attached
page.
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AO 245B (Rev. 11/16)   Judgment in a Criminal Case
                       Sheet 4A - Probation
                                                                                                 Judgment-Page _    ___,3'--- of -----=----
DEFENDANT: EDWARD LEE PALMER, II
CASE NUMBER: 4:15cr00101-17 JM

                                       STANDARD CONDITIONS OF SUPERVISION
As part of your probation, you must comply with the following standard conditions of supervision. These conditions are imposed because
they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by probation officers
to keep informed, report to the court about, and bring about improvements in your conduct and condition.

1.    You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of the time
      you were sentenced, unless the probation officer instructs you to report to a different probation office or within a different time frame.
2.    After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
      when you must report to the probation officer, and you must report to the probation officer as instructed.
3.    You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from the
      court or the probation officer.
4.    You must answer truthfully the questions asked by your probation officer.
5.    You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
      arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If notifying
      the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72
      hours of becoming aware ofa change or expected change.
6.    You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer to
      take any items prohibited by the conditions of your supervision that he or she observes in plain view.
7.    You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from
      doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses
      you from doing so. If you plan to change where you work or anything about your work (such as your position or your job
      responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the probation officer at least 10
      days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of
      becoming aware of a change or expected change.
8.    You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
      convicted of a felony, you must not knowingly communicate or interact with that person without first getting the permission of the
      probation officer.
9.    If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
10.   You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that was
      designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or tasers).
11.   You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant without
      first getting the permission of the court.
12.   Ifthe probation officer determines that you pose a risk to another person (including an organization), the probation officer may
      require you to notify the person about the risk and you must comply with that instruction. The probation officer may contact the
      person and confirm that you have notified the person about the risk.
13.   You must follow the instructions of the probation officer related to the conditions of supervision.


U.S. Probation Office Use Only
A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
judgment containing these conditions. For further information regarding these conditions, see Overview ofProbation and Supervised
Release Conditions, available at: www.uscourts.gov.

Defendant's Signature                                                                                     Date
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AO 2458 (Rev. 11/16)   Judgment in a Criminal Case
                       Sheet 48 - Probation
                                                                                            Judgment-Page   _4_ of          6
DEFENDANT: EDWARD LEE PALMER, II
CASE NUMBER: 4:15cr00101-17 JM

                                               ADDITIONAL PROBATION TERMS
 14) The first six months of probation will be served in home detention with electronic monitoring. All mandatory and
 standard conditions apply.

 15) The defendant will be monitored by the form of location monitoring for a period of six months and shall abide by all
 technology requirements. The participant shall pay all or part of the costs of participation in the location monitoring program
 as directed by the court and the pretrial services or probation officer. The defendant is restricted to his residence at all
 times except for the following: employment, education, religious services, medical, substance abuse or mental health
 treatment, attorney visits, court appearances, court-ordered obligations, or other activities as pre-approved by the
 probation officer.

 16) The defendant will participate under the guidance and supervision of the probation officer, in a substance abuse
 treatment program which may include testing, outpatient counseling, and residential treatment. further, the defendant shall
 abstain from the use of alcohol throughout the course or treatment.

 17) The defendant shall complete 150 hours of community service under the guidance and supervision of the probation
 office.
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AO 245B (Rev. 11/16)   Judgment in a Criminal Case
                       Sheet 5 - Criminal Monetary Penalties
                                                                                                      Judgment -   Page    5   of        6
 DEFENDANT: EDWARD LEE PALMER, II
 CASE NUMBER: 4:15cr00101-17 JM
                                               CRIMINAL MONETARY PENALTIES
      The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                     Assessment                    JVTA Assessment*                Fine                      Restitution
 TOTALS            $ 100.00                      $ 0.00                          $ 0.00                    $ 0.00


 D The determination ofrestitution is deferred until - - - - . An Amended Judgment in a Criminal Case (AO 245C) will be entered
      after such determination.

 D The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

     If the defendant makes a partial payment, each payee shall receive an approximately proportioned _Eaynient, unless specified otherwise in
     the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(1), all nonfederal victims must be paid
     before the United States is paid.

  Name of Payee                                                               Total Loss**      Restitution Ordered Priority or Percentage




 TOTALS                                                                 $                  0.00 $_ _ _ _~0-.0~0


 D    Restitution amount ordered pursuant to plea agreement $

 D    The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
      fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
      to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

 D     The court determined that the defendant does not have the ability to pay interest and it is ordered that:

       D the interest requirement is waived for the            D fine       D restitution.
       D the interest requirement for the           D fine      D   restitution is modified as follows:

 * Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22.
 ** Findings for the total amount of losses are required under Chapters l 09 A, 110, 11 OA, and l l 3A of Title 18 for offenses committed on or
 after September 13, 1994, but before April 23, 1996.
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AO 245B (Rev. 11/16)   Judgment in a Criminal Case
                       Sheet 6 - Schedule of Payments

                                                                                                           Judgment -Page _6~- of                 6
DEFENDANT: EDWARD LEE PALMER, II
CASE NUMBER: 4:15cr00101-17 JM


                                                        SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

A     ~     Lump sum payment of$ _1_0_0_.o_o____ due immediately, balance due

            D     not later than                                  , or
            D     in accordance with     D C,       D D,     D     E,or      D Fbelow; or
B     D     Payment to begin immediately (may be combined with            D C,        D D, or       D F below); or

 C    D Payment in equal                      (e.g., weekly, monthly, quarterly) installments of $                             over a period of
          _ _ _ _ _ (e.g., months or years), to commence                        (e.g., 30 or 60 days) after the date of this judgment; or

D     D    Payment in equal                   (e.g., weekly, monthly, quarterly) installments of $                          over a period of
          _ _ _ _ _ (e.g., months or years), to commence                        (e.g., 30 or 60 days) after release from imprisonment to a
            term of supervision; or

E     D Payment during the term of supervised release will commence within                      (e.g., 30 or 60 days) after release from
            imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

F     D Special instructions regarding the payment of criminal monetary penalties:




Unless the court has expressly ordered otherwise, ifthis judgment imposes imprisonment, payment ofcriminal monetary penalties is due during
the period of imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons' Inmate
Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




D     Joint and Several

      Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
      and corresponding payee, if appropriate.




D     The defendant shall pay the cost of prosecution.

D     The defendant shall pay the following court cost(s):

D     The defendant shall forfeit the defendant's interest in the following property to the United States:


Payments shall be applied in the follow!!J.g_order: (1) assessment, (2) restitution principal, (3) restitution interest1 (4) fine principal, (5) fine
interest, (6) commumty restitution, (7) JVTA assessment, (8) pena1ties, and (9) costs, mchiding cost of prosecution and court costs.
